

People v Rodriguez (2020 NY Slip Op 00051)





People v Rodriguez


2020 NY Slip Op 00051


Decided on January 2, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 2, 2020

Richter, J.P., Gische, Mazzarelli, Gesmer, JJ.


10694 1745N/16

[*1] The People of the State of New York, Respondent,
vChristopher Rodriguez, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Heidi Bota of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Alan Gadlin of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Richard Weinberg, J. at plea; Kevin McGrath, J., at sentencing), rendered August 11, 2016,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
ENTERED: JANUARY 2, 2020
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.








